Case 2:05-Cr-20277-BBD Document 21 Filed 08/24/05 Page 1 of 2 Page|D 29

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UNITED STATES DISTRICT COURT ' "

WESTERN DISTRICT OF TENNESSEE 05 AUG 21+ AH 8: 06
Western Division "

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20277-3D

GENO BONDS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled ease, and is otherwise qualified for appointment of eounsel. Aceordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
° The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DoNE and oRDERED in 167 Nonh Main, Memphis, this 2 3 day of Augusr,

 

2005.
i AA:>QQ)\__
‘/ TI`J M. PHAM
UNITED STATES MAGISTRATE JUDGE
Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

GENO BONDS

Tnis document entered on the docke sheet in compliance
with mile 55 and,'or 32(b) FF\CrF' on “ ) l

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 21 in
case 2:05-CR-20277 Was distributed by f`aX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

PDA

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Honorable Bernice Donald
US DISTRICT COURT

